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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 ---------------------------------------------------------------------------------x
                                                                                  :
 In re                                                                            :   Chapter 11 Case No.
                                                                                  :
 LEHMAN BROTHERS HOLDINGS INC., et al.,                                           :   08-13555 (JMP)
                                                                                  :
                                     Debtors.                                     :   (Jointly Administered)
                                                                                  :
 ---------------------------------------------------------------------------------x
                                                                                  :
 In re                                                                            :
                                                                                  :   Case No.
 LEHMAN BROTHERS INC.,                                                            :
                                                                                  :   08-01420 (JMP) (SIPA)
                                     Debtor.                                      :
                                                                                  :
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           NOTICE OF AMENDED AGENDA OF MATTERS SCHEDULED FOR
         THE FIFTY-FIRST OMNIBUS HEARING ON JULY 18, 2012 AT 10:00 A.M.

 Location of Hearing:          United States Bankruptcy Court for the Southern District of New York,
                               Alexander Hamilton U.S. Custom House, before the Honorable
                               James M. Peck, United States Bankruptcy Judge, Room 601,
                               One Bowling Green, New York, NY 10004-1408

 I.       UNCONTESTED MATTER:

          1.        Motion of Lehman Brothers Holdings Inc. to Modify Certain Existing Claims
                    Orders [ECF No. 29193]

                    Response Deadline:      July 11, 2012 at 4:00 p.m.

                    Responses Received: None.

                    Related Document:

                              A.     Notice of Filing of Revised Proposed Order [ECF No. 29476]

                    Status: This matter is going forward.

 II.      CONTESTED MATTERS:

          2.        Joint Motion of Lehman Brothers Holdings Inc. and Litigation Subcommittee of
                    Creditors’ Committee to Extend Stay of Avoidance Actions [ECF No. 29163]

                    Response Deadline:      July 11, 2012 at 4:00 p.m.

                    Responses Received:

                              A.     Objection of U.S. Bank National Association, as Trustee [ECF No.
                                     29343]

                              B.     Statement and Reservation of Rights of Liquidators of Lehman
                                     Brothers Australia Limited [ECF No. 29341]

                              C.     Amended Statement and Reservation of Liquidators of Lehman
                                     Brothers Australia Limited [ECF No. 29399]

                    Related Documents:

                              D.     Omnibus Reply in Support of Joint Motion [ECF No. 29409]

                              E.     Declaration of Lawrence Brandman in Support of Joint Motion
                                     [ECF No. 29417]

                    Status: This matter is going forward.
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 SECURITIES INVESTOR PROTECTION CORPORATION PROCEEDINGS

 III.     UNCONTESTED FEE APPLICATION:

          3.        Ninth Application for Interim Professional Compensation for Hughes Hubbard &
                    Reed LLP [ECF No. 5099]

                    Response Deadline:     July 6, 2012 at 4:00 p.m.

                    Response Received:

                              A.    Recommendation of SIPC in Support of the Ninth Application of
                                    Counsel for Interim Compensation and Reimbursement of
                                    Expenses [ECF No. 5144]

                    Related Documents:

                              B.    Notice of Hearing [ECF No. 5100]

                              C.    Notice of Adjournment of Hearing [ECF No. 5119]

                    Status: This matter is going forward.

 IV.      ADVERSARY PROCEEDING:

          4.        Lehman Brothers Special Financing Inc. v. Bank of America National
                    Association, et al. [Adversary Proceeding No. 10-03547]

                    Motion to Amend First Amended Complaint

                    Related Documents:

                              A.    Second Amended Complaint [ECF No. 237]

                              B.    Motion to Amend First Amended Complaint (renamed and
                                    originally filed under ECF No. 237) [ECF No. 238]

                              C.    Revised Proposed Order [ECF No. 294]

                              D.    Statement to Correct Record of Service and Exhibit E to
                                    Declaration of Adam M. Bialek in Connection with LBSF’s
                                    Motion to Amend First Amended Complaint [ECF No. 295]

                    Objections and Responses Resolved by Revised Proposed Order:

                              E.    Limited Objection and Reservation of Rights of Susquehana Bank
                                    and SBSI, Inc. to LBSF’s Motion to Amend First Amended
                                    Complaint [ECF No. 247]


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                              F.    Limited Objection and Reservation of Rights of Deutsche
                                    Apotheker Und Arztebank to LBSF’s Motion to Amend First
                                    Amended Complaint [ECF No. 248]

                              G.    Limited Objection and Reservation of Rights of Royal Bancshares
                                    of Pennsylvania, Inc. to LBSF’s Motion to Amend First Amended
                                    Complaint [ECF No. 252]

                              H.    Illinois Mutual Life Insurance Company’s Objection to LBSF’s
                                    Motion to Amend First Amended Complaint [ECF No. 260]

                                        i. Stipulation of Dismissal Without Prejudice [ECF No. 292]

                              I.    Objection of U.S. Bank National Association, as Trustee, to
                                    LBSF’s Motion to Amend First Amended Complaint [ECF No.
                                    262]

                                        i. Objection Withdrawn [ECF No. 297]

                              J.    Reservation of Rights and Response of American Family Life
                                    Assurance Company of Columbus to LBSF’s Motion to Amend
                                    First Amended Complaint [ECF No. 264]

                              K.    Limited Objection and Reservation of Rights of Nationwide Life
                                    Insurance Company and Nationwide Mutual Life Insurance Co. to
                                    LBSF’s Motion to Amend First Amended Complaint [ECF No.
                                    267]

                              L.    Limited Objection and Reservation of Rights of Standard Life
                                    Insurance Co. of Indiana to LBSF’s Motion to Amend First
                                    Amended Complaint [ECF No. 268]

                                        i. Stipulation [ECF No. 290]

                              M.    RGA Reinsurance Company’s Corrected Objection to LBSF’s
                                    Motion to Amend First Amended Complaint [ECF No. 279]

                    Unresolved Objection:

                              N.    Objection of the Dispatch Printing Company to LBSF’s Motion to
                                    Amend First Amended Complaint [ECF No. 266]

                              O.    Objection of the Dispatch Printing Company to the Proposed Order
                                    Granting Lehman Brothers Special Financing Inc.’s Motion [ECF
                                    No. 299]

                    Response Deadline:     July 11, 2012 at 4:00 p.m.


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                    Status: The Revised Proposed Order [ECF No. 294] is going forward on a
                    contested basis solely as to the unresolved objection by Dispatch Printing
                    Company [ECF No. 299] to the Revised Proposed Order. The Revised Proposed
                    Order is going forward on an uncontested basis as to all resolved objections and
                    responses and as to all other parties. The unresolved objection by Dispatch
                    Printing Company [ECF No. 266] to the Motion to Amend First Amended
                    Complaint is adjourned to August 15, 2012 at 2:00 p.m.

 V.       ADJOURNED MATTERS:

 A.       Lehman Brothers Holdings Inc.

          5.        Motion of Fidelity National Title Insurance Company to Compel Compliance
                    with Requirements of Title Insurance Policies [ECF No. 11513]

                    Response Deadline:     February 9, 2011 at 4:00 p.m.

                    Responses Received:

                              A.    Debtors’ Objection [ECF No. 14398]

                              B.    Joinder of Official Committee of Unsecured Creditors to LCPI’s
                                    Objection [ECF No. 14462]

                    Related Documents:

                              C.    Affidavit of Michael E. Busch, Esq. in Support of Motion [ECF
                                    No. 11514]

                              D.    Declaration of Christopher Milenkevich in Support of Debtors’
                                    Objection [ECF No. 14454]

                    Status: This matter has been adjourned to August 15, 2012 at 10:00 a.m.

          6.        Motion of Giants Stadium LLC for Leave to Conduct Discovery of the Debtors
                    Pursuant to Federal Rule of Bankruptcy Procedure 2004 [ECF No. 16016]

                    Response Deadline:     May 11, 2011 at 4:00 p.m.

                    Responses Received:

                              A.    Debtors’ Objection [ECF No. 16680]

                              B.    Joinder of Official Committee of Unsecured Creditors in Debtors’
                                    Objection [ECF No. 16683]

                    Related Documents: None.

                    Status: This matter has been adjourned to August 15, 2012 at 10:00 a.m.
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          7.        Amended Motion of Ironbridge Homes, LLC, et al. for Relief from the Automatic
                    Stay [ECF No. 23551]

                    Response Deadline:     August 8, 2012 at 4:00 p.m.

                    Responses Received: None.

                    Related Documents: None.

                    Status: This matter has been adjourned to August 15, 2012 at 10:00 a.m.

 B.       Adversary Proceeding

          8.        Belmont Park Investments Pty Ltd, et al. v. Lehman Brothers Special Financing
                    Inc. [Adversary Proceeding No. 12-01045]

                    Motion to Stay Adversary Proceeding

                              A.    Motion of Lehman Brothers Special Financing Inc.. to Stay
                                    Adversary Proceeding [ECF No. 8]

                    Related Documents: None.

                    Status: This matter has been adjourned sine die.

 C.       Lehman Brothers Inc.

          9.        Motion of Elliott Management Corporation For an Order, Pursuant to 15 U.S.C.
                    §§ 78fff-1(B), 78fff-2(B) and 78fff-2(C)(1) and 11 U.S.C. § 105(A), (I)
                    Determining the Method of Distribution on Customer Claims and (II) Directing
                    an Initial Distribution on Allowed Customer Claims [ECF No. 5129]

                    Response Deadline:     August 8, 2012 at 4:00 p.m.

                    Response Received To Date:

                              A.    Limited Objection by Barclays Capital Inc. [ECF No. 5156]

                    Related Document:

                              B.    Amended Notice of Adjournment of Hearing [ECF No. 5155]

                    Status: This matter has been adjourned to August 15, 2012 at 10:00 a.m.

          10.       Cardinal Investment Sub I, L.P. and Oak Hill Strategic Partners, L.P.’s Motion for
                    Limited Intervention in the Contested Matter Concerning the Trustee’s
                    Determination of Certain Claims of Lehman Brothers Holdings Inc. and Certain
                    of Its Affiliates [ECF No. 4634]

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                    Response Deadline:     August 8, 2012 at 4:00 p.m.

                    Responses Received: None.

                    Related Documents:

                              A.    Declaration of Luke A. Barefoot in Support of Movant’s Motion
                                    for Limited Intervention in the Contested Matter Concerning the
                                    Trustee’s Determination of Certain Claims of Lehman Brothers
                                    Holdings Inc. and Certain of its Affiliates [ECF No. 4635]

                              B.    Notices of Adjournment [ECF Nos. 4663, 4759, 4824, 4892, 4946,
                                    5017, 5066, 5108, 5132]

                    Status: This matter has been adjourned to August 15, 2012 at 10:00 a.m.


 Dated: July 17, 2012
        New York, New York

                                                  /s/ Jacqueline Marcus
                                                  Jacqueline Marcus

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                                                  Attorneys for Lehman Brothers Holdings Inc.
                                                  and Certain of Its Affiliates
 Dated: July 17, 2012
        New York, New York

                                                  /s/ Jeffrey S. Margolin
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                                                  Jeffrey S. Margolin

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                                                  the SIPA Liquidation of Lehman Brothers Inc.



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